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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
 JOHNMARK MAJUC and JOSEPH JOK,
                                                    )
                                                    )
                        Plaintiffs,
                                                    )
                                                    )
                         v.
                                                    ) Civil Action No. 18-566 (APM)
                                                    )
 UNITED STATES DEPARTMENT OF
                                                    )
 JUSTICE,
                                                    )
                                                    )
                        Defendant.
                                                    )


                                      JOINT STATUS REPORT

       Pursuant to the Court’s April 24, 2018 Order, Plaintiffs Johnmark Majuc and Joseph Jok

(collectively, the “Plaintiffs”) and Defendant United States Department of Justice (“DOJ”)

respectfully submit this status report and proposed briefing schedule.

       1.       This case was brought under the Freedom of Information Act (“FOIA”) and

concerns Plaintiffs’ objection to DOJ’s withholding, pursuant to FOIA Exemption 7(A), of all

records responsive to Plaintiffs’ FOIA request.

       2.       The processing of Plaintiffs’ FOIA request is complete and the only issue remaining

is the withholdings. Therefore, the parties propose the following briefing schedule for dispositive

motions:

                                                                     DEADLINE

                      Defendant’s Motion for Summary                August 17, 2018
                      Judgment
                      Plaintiff’s Opposition to Defendant’s
                      Motion for Summary Judgment and             September 17, 2018
                      Plaintiff’s Cross-Motion for Summary
                      Judgment
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                                                                 DEADLINE

                     Defendant’s Opposition to Plaintiff’s
                     Cross-Motion for Summary Judgment
                                                              October 17, 2018
                     and Reply to Plaintiff’s Opposition to
                     Defendant’s Motion for Summary
                     Judgment
                     Plaintiff’s Reply to Defendant’s
                     Opposition to Plaintiff’s Cross-Motion   November 7, 2018
                     for Summary Judgment



Dated: May 8, 2018

                                          Respectfully submitted,

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                                          United States Attorney

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                                          Chief, Civil Division

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